      Case 4:18-cv-04770 Document 23 Filed on 06/20/19 in TXSD Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TRIUMPHANT GOLD LIMITED,                         §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §       CIVIL ACTION NO. 4:18-CV-04770
                                                 §
DARREN MATLOFF,                                  §
                                                 §
        Defendant.                               §


                              SUGGESTION OF BANKUPTCY


        PLEASE TAKE NOTICE that on June 19, 2019, a voluntary petition was filed in the

United States Bankruptcy Court for the Northern District of Texas by Defendant, Darren Scott

Matloff. The court assigned Case No. 19-32039-7 as the docket number to the petition.


        PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 362, upon the filing

of a Chapter 7 petition, an injunction is placed into effect which stays, among other things, the

commencements or continuation of a judicial, administrative or other action or proceeding

against the Debtor that was or could have been commenced before the filing of the petition, or to

recover a claim against the Debtor that arose before the commencement of the Chapter 7 petition,

any act to obtain possession of or exercise control over property of the estate, and/or any act to

collect, assess, or recover a claim against the Debtor that arose before the filing of the Chapter 7

petition.
     Case 4:18-cv-04770 Document 23 Filed on 06/20/19 in TXSD Page 2 of 2



                                           Respectfully submitted,

                                           HICKS THOMAS LLP

                                           /s/ Allen H. Rustay
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                                           ATTORNEYS FOR DEFENDANT
                                           DARREN MATLOFF



                               CERTIFICATE OF SERVICE

       Service of this document on all counsel of record was accomplished automatically
through the Court’s Notice of Electronic Filing on June 20, 2019.


                                           /s/ Allen H. Rustay
                                               Allen H. Rustay




SUGGESTION OF BANKRUPTCY                                                                  Page 2
